      Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 1 of 18 PageID #:1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 MORGAN KUKOVEC, INDIVIDUALLY AND ON BEHALF
 OF ALL OTHERS SIMILARLY SITUATED,

         Plaintiff,                                       Case No.:

 v.                                                       Judge:

 L’ORÉAL USA, INC. D/B/A                                  JURY TRIAL DEMANDED
 L’ORÉAL PARIS,

         Defendant.


                               CLASS ACTION COMPLAINT
        Plaintiff, Morgan Kukovec (hereinafter, “Plaintiff”), brings this Class Action Complaint

individually and on behalf of all other similarly situated individuals against Defendant L’ORÉAL

USA, INC., d/b/a L’ORÉAL PARIS (hereinafter, “Defendant”), pursuant to the Illinois Biometric

Information Privacy Act, 740 ILCS § 14/1 et seq. Plaintiff files suit to remedy Defendant’s

unlawful collection, storage, and use of Plaintiff’s and the proposed class’s biometrics without

their informed written consent through the Virtual Try-On tool offered on Defendant’s websites.

                         PARTIES, JURISDICTION, AND VENUE
        1.     Plaintiff Morgan Kukovec resides in West Chicago, DuPage County, Illinois.

        2.     Defendant is incorporated in the State of Delaware with its principal place of

business in New York, New York.

        3.     Jurisdiction is proper in this Court because Plaintiff is a citizen of Illinois and

Defendant purposefully availed itself of the laws, protections, and advantages of Illinois by

conducting business in this State, and within every County in this State, with consumers like

Plaintiff.




                                                1
      Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 2 of 18 PageID #:2




        4.     The Court has personal jurisdiction over Defendants because they regularly conduct

business in this District and/or under the stream of commerce doctrine by causing their products

and services to be disseminated in this District, including the App downloaded and used by

Plaintiffs.

        5.     Furthermore, this Court has subject matter jurisdiction pursuant to the Class Action

Fairness Act of 2005 (hereinafter referred to as “CAFA”) codified as 28 U.S.C. § 1332(d)(2)

because the claims of the proposed Class Members exceed $5,000,000 and because Defendants

are citizens of a different state than most Class Members.

        6.     Venue is proper in this Court because a substantial portion of the events complained

of occurred in this District and this Court has jurisdiction over Defendant.

                              THE BIPA LEGAL FRAMEWORK
        1.     The Illinois General Assembly enacted BIPA to protect the privacy rights of

consumers in Illinois.

        2.     In enacting BIPA, the General Assembly found that the sensitivity of biometric

information and identifiers warrants heightened protection of this information when companies

collect it from consumers like Plaintiff. Specifically, the General Assembly found that

“[b]iometrics are unlike other unique identifiers” like social security numbers because they are

“biologically unique to the individual” and cannot be changed if compromised. 740 ILCS 14/5(c).

Thus, an individual whose biometrics are compromised “has no recourse” and “is at heightened

risk for identify theft.” Id. Moreover, said the General Assembly, “[t]he full ramifications of

biometric technology are not fully known.” Id. § 14/5(e). Therefore, “[t]he public welfare, security,




                                                 2
      Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 3 of 18 PageID #:3




and safety will be served by regulating the collection, use, safeguarding, handling, storage,

retention, and destruction of biometric identifiers and information.” Id. § 14/5(f).

       3.         BIPA defines “biometric identifiers” as “a retina or iris scan, fingerprint, voiceprint,

or scan of hand or face geometry.” Id. § 14/10.

       4.         “Biometric information” is identified as “any information, regardless of how it is

captured, converted, stored, or shared, based on an individual’s biometric identifier used to identify

an individual.” Id. Biometric information does not include information derived from items or

procedures excluded under the definition of biometric identifiers. Id.

       5.         Accordingly, BIPA requires “private entities” like corporations that collect certain

biometric identifiers or biometric information to take a number of specific steps to safeguard

consumers’ data; inform consumers of the entities’ uses, retention of, and destruction of their

biometrics; and obtain informed consent before collecting such data.

       6.         With respect to safeguarding biometrics, BIPA requires that private entities in

possession of biometric identifiers or biometric information must:

       [D]evelop a written policy, made available to the public, establishing a retention
       schedule and guidelines for permanently destroying biometric identifiers and
       biometric information when the initial purpose for collecting or obtaining such
       identifiers or information has been satisfied or within 3 years of the individual’s
       last interaction with the private entity, whichever occurs first. Absent a valid
       warrant or subpoena issued by a court of competent jurisdiction, a private entity in
       possession of biometric identifiers or biometric information must comply with its
       established retention schedule and destruction guidelines.
Id. § 14/15(a).
       7.         Further, BIPA requires that any private entity in possession of biometric identifiers

or biometric information must safeguard such data “using the reasonable standard of care within

the private entity’s industry” and must “store, transmit, and protect from disclosure all biometric

identifiers and biometric information in a manner that is the same as or more protective than the

                                                     3
      Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 4 of 18 PageID #:4




manner in which the private entity stores, transmits, and protects other confidential and sensitive

information.” Id. § 14/15(e).

       8.         With respect to informed consent, BIPA provides:

       No private entity may collect, capture, purchase, receive through trade, or otherwise
       obtain a person’s or a customer’s biometric identifier or biometric information,
       unless it first
       (1) informs the subject or the subject’s legally authorized representative in writing
       that a biometric identifier or biometric information is being collected or stored;
       (2) informs the subject or the subject’s legally authorized representative in writing
       of the specific purpose and length of term for which a biometric identifier or
       biometric information is being collected, stored, and used; and
       (3) receives a written release executed by the subject of the biometric identifier or
       biometric information or the subject’s legally authorized representative.
Id. § 14/15(6).
       9.         Further, BIPA provides: “No private entity in possession of a biometric identifier

or biometric information may sell, lease, trade, or otherwise profit from a person’s or a customer’s

biometric identifier or biometric information.” Id. § 14/l1(c).

       10.        Under BIPA, a private entity is prohibited from disclosing, redisclosing, or

otherwise disseminating a consumer’s biometric identifier or biometric information unless the

consumer has consented to the disclosure or redisclosure. Id. § 14/15(d).

       11.        BIPA provides for statutory damages, injunctive relief, reasonable attorney’s fees

and costs, and other relief “as the State or federal court may deem appropriate” when a private

entity violates a consumer’s rights under the statute. Id. § 14/20. Where a violation is the result of

negligence, BIPA provides for the greater of actual damages or $1,000 in liquidated damages per

violation, and if the violation was intentional or reckless, the greater of actual damages and

liquidated damages of $5,000 per violation. Id.

DEFENDANT COLLECTS BIOMETRICS THROUGH THE VIRTUAL TRY-ON TOOL
                                                  4
         Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 5 of 18 PageID #:5




          12.    Defendant is a makeup company that markets a variety of products, alone and

through its subsidiaries including, as relevant here, the “L’ORÉAL PARIS,” Maybelline, NYX

Cosmetics, Yves Saint Laurent, Shu Uemura, Lancome, Urban Decay, Giorgio Armani, and

Garnier brands.

          13.    Defendant sells its makeup products in brick-and-mortar retail shops and drugstores

and through its many websites, including lorealparisusa.com, maybelline.com, nyxcosmetics.com,

https://www.yslbeautyus.com, https://www.shuuemura-usa.com, https://www.lancome-usa.com,

https://www.urbandecay.com,               https://www.giorgioarmanibeauty-usa.com,              and

https://www.garnierusa.com.

          14.    On its websites, Defendant offers a virtual try-on tool to consumers who visit the

site.1

          15.    When consumers view a product for which the virtual try-on tool is available,

Defendant invites them to access the virtual try-on tool by presenting a “Try It On” button that

appears under the photo of the product being viewed.




1
    https://www.lorealparisusa.com/virtual-try-on-makeup (last visited Feb. 7, 2022)
                                                  5
      Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 6 of 18 PageID #:6




       16.     When consumers click “Try It On” from a specific product’s page, a pop-up appears

in which they can use their web or phone camera to display a real-time photograph of themselves

or upload a photo previously saved to their device.




                                                6
        Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 7 of 18 PageID #:7




          17.    If the user clicks “Live Camera,” the virtual try-on tool activates their webcam

automatically, so that their real-time image appears immediately. Once the webcam is on, users

have two ways to “try-on” the products. Users may allow the virtual try-on tool to overlay the

product on the user’s entire face or, in the alternative, choose a split-screen option in which the

product is shown on only half of the user’s face to see a before and after effect.

          18.    From there, consumers can download or post to social media websites the photo

showing the product applied to their face.

          19.    The Virtual Try-On tool on Defendant’s website is powered by an application

called “ModiFace.” This application operates by capturing the facial geometry of users’ photos,

regardless of whether the photo is taken by web or phone camera while using the Virtual Try-On

tool, uploaded to the tool, or captured via a live web or phone camera feed. These facial-geometry

scans are used to identify the shape and features of the user’s face in order to accurately overlay

the virtual makeup product onto the image provided. According to the developer of ModiFace, the

application uses “highly accurate 3D facial micro-feature tracking” and “is one of the most precise

real-time facial micro-features video tracking and analysis technologies in the world.”2

          20.    The photo below, taken from the ModiFace developer’s website, illustrates the

facial-geometry patterns that power the application.




2
    https://modiface.com/#product (last visited Feb. 7, 2022)
                                                  7
        Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 8 of 18 PageID #:8




          21.    Defendant does not inform consumers who use the Virtual Try-On tool in writing

that it is capturing or collecting facial geometry or the specific purpose and length of term for

which it is collecting, storing, or using such data, which is a biometric identifier specifically

protected by BIPA, nor does Defendant obtain consumers’ informed written consent before

capturing or collecting such data.

          22.    Defendant’s only attempt at providing any kind of disclosure to Plaintiff and the

Class comes in the form of a link to Defendant’s standard “privacy policy.3” The policy does not



3
    https://www.lorealparisusa.com/privacy-policy (last visited Feb. 7, 2022)
                                                  8
      Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 9 of 18 PageID #:9




inform the user how the user’s facial geometry (a biometric identifier protected by BIPA) is

collected, used, or retained in order to allow the Virtual Try-On tool to operate or otherwise.

Indeed, the policy only references “[p]hotographs that you upload or share with us” without

discussing the company’s capturing, collection, or use of biometrics at all.

       23.       Thus, Defendant’s “consent” button fails to provide the proper and relevant

disclosures as required by BIPA. Specifically, Defendant’s pop-up notification does not:

             a. inform the subject or the subject’s legally authorized representative in writing that

                a biometric identifier or biometric information is being collected or stored;

             b. inform the subject or the subject’s legally authorized representative in writing of

                the specific purpose and length of term for which a biometric identifier or biometric

                information is being collected, stored, and used; and

             c. provide a written release executed by the subject of the biometric identifier or

                biometric information or the subject’s legally authorized representative.

       24.      Further, Defendant does not make publicly available a written policy establishing

a retention schedule and guidelines for permanently destroying biometric identifiers or biometric

information obtained from consumers, as required by BIPA.

       25.      Upon information and belief, Defendant has not developed a written policy

establishing retention schedules and guidelines for permanently destroying consumers’ biometrics

and does not destroy such data within the timeframes established by BIPA.

                            PLAINTIFF-SPECIFIC ALLEGATIONS
       26.      Plaintiff is a resident of West Chicago, Illinois.




                                                   9
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 10 of 18 PageID #:10




        27.    On or around December 20, 2021 Plaintiff visited the “L’Oreal Paris” website.

While on the website, Plaintiff used the Virtual Try-On tool to see what various products would

look like if she were to use them.

        28.    Specifically, Plaintiff tested a lipstick—“Infallible Pro-Last Color, 107 Violet

Parfait.”

        29.    After trying on the product, Plaintiff decided not to purchase it. As such, Plaintiff

did not set up an account on the website.

        30.    When Plaintiff used the Virtual Try-On tool, Defendant captured and collected her

facial geometry. The Virtual Try-On tool could not have provided the advertised experience if

Defendant did not capture and collect Plaintiff’s facial geometry.

        31.    Upon information and belief, Defendant also stored her facial geometry for an

unspecified period of time after Plaintiff used the Virtual Try-On tool.

        32.    When Plaintiff accessed the Virtual Try-On tool on Defendant’s website, she

received the pop-up notification described above regarding the use of the tool.

        33.    As discussed above, Defendant’s pop-up notification failed to meet the

requirements of BIPA, as it did not inform Plaintiff in writing that it was capturing, collecting,

storing, or using scans of her facial geometry; did not inform her in writing of the specific purpose

and length of time for which her facial geometry was being collected, stored, or used; and did not

obtain a written release from Plaintiff authorizing Defendant to collect, store, or use her facial

geometry.

        34.    Plaintiff has never been informed of the specific purposes or length of time for

which Defendant collected, stored, or used her facial geometry; any biometric data retention policy




                                                 10
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 11 of 18 PageID #:11




developed by Defendant; or whether Defendant will ever permanently delete her biometrics.

Defendant has not made any of this information available to the public.

       35.     Plaintiff does not know whether Defendant has destroyed—or will destroy—the

biometrics collected from her.

                                     CLASS ALLEGATIONS
       36.     Plaintiff brings this action on behalf of himself and, pursuant to 735 ILCS 5/2-801,

on behalf of a class of similarly situated individuals (hereinafter “the Class”) defined as follows:

       All persons whose biometric identifiers were captured by Defendant through use of
       the     Virtual    Try-On     tool   on     Defendant’s     websites,    including
       www.lorealparisusa.com,        www.maybelline.com,       www.nyxcosmetics.com,
       https://www.yslbeautyus.com,                    https://www.shuuemura-usa.com,
       https://www.lancome-usa.com,                        https://www.urbandecay.com,
       https://www.giorgioarmanibeauty-usa.com, and https://www.garnierusa.com,
       while residing in Illinois from five years preceding the date of the filing of this
       action to the present.

       37.     Excluded from the class are Defendant’s officers and directors, Plaintiff’s counsel,

and any member of the judiciary presiding over this action.

       38.     Numerosity: Upon information and belief, there are more than forty class

members, and individual joinder in this case is impracticable.

       39.     Commonality and predominance: Multiple questions of law and fact are common

to the class and predominate over any individualized questions. Common questions include, but

are not limited to, whether Defendant has a practice of capturing, collecting, storing, or distributing

consumer biometrics obtained through consumers’ use of the Virtual Try-On tool on Defendant’s

websites; whether Defendant has developed and made publicly available a written policy

establishing a retention schedule and guidelines for destroying consumer biometrics; whether

Defendant obtained an executed written release from consumers whose faces were scanned using

the Virtual Try-On tool on Defendant’s websites before capturing their biometrics; whether

                                                  11
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 12 of 18 PageID #:12




Defendant’s practices violate BIPA; and whether Defendant’s conduct was willful, reckless, or

negligent.

       40.     Adequacy of Representation: Plaintiff will fairly and adequately represent and

protect the interests of all Class members. She has retained counsel with significant experience

and achievements in complex class action litigation, she has no interests that are antagonistic to

those of any Class members, and Defendant has no unique defenses unique to her.

       41.     Appropriateness: A class action is an appropriate method for the fair and efficient

adjudication of the controversy because it will resolve multiple issues common to the Class in a

single stroke. Moreover, a class action would reduce the time and expense of litigation and promote

judicial economy by jointly resolving a large number of individual claims that would otherwise be

litigated separately in duplicative proceedings.

                                          COUNT 1
                           VIOLATION OF 740 ILCS 14/15(b)
    Failure to Inform in Writing and Obtain Written Release from Consumers Prior to
                   Capturing, Collecting, or Storing Biometric Identifiers
                              Damages and Injunctive Relief
            Alleged on Behalf of Plaintiff Individually and on Behalf of the Class
       42.     Plaintiff re-alleges and incorporates the allegations in the preceding paragraphs.

       43.     The Virtual Try-On tool operates by capturing the facial geometry of consumers

like Plaintiff and Class members.

       44.     Facial geometry is a biometric identifier protected by BIPA.

       45.     BIPA prohibits private entities like Defendant from collecting, capturing,

purchasing, receiving through trade, or otherwise obtaining consumers’ biometric identifiers or

biometric information without first informing them in writing of such activities; informing them

in writing of the specific purpose and length of term for which biometric identifiers or biometric




                                                   12
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 13 of 18 PageID #:13




information are being collected, stored, and used; and obtaining a written release executed by

consumers whose biometric identifiers or biometric information is being collected.

       46.       Defendant did not provide any of these required written disclosures or obtain the

required written release from Plaintiff or Class members prior to collecting, storing, or using their

facial geometry data obtained through use of the Virtual Try-On tool.

       47.       As a result, Defendant has invaded the privacy of Plaintiff and Class members and

unlawfully collected, used, and benefitted from their biometric identifiers while failing to provide

them with the lawfully required notice of such collection and use.

       48.       Accordingly, Defendant has violated BIPA. These violations have harmed Plaintiff

and Class members; accordingly, Plaintiff and Class members are entitled to liquidated damages

of $1,000 per negligent violation, $5,000 per willful or reckless violation, or actual damages if

greater than the liquidated damages provided for by BIPA.

       49.       Moreover, an injunction is warranted pursuant to 740 ILCS 14/20(4). Upon

information and belief, Defendant currently possesses Plaintiff’s and Class members’ biometrics

and may be using or distributing them to third parties without Plaintiff’s or Class members’

permission. Such a violation of privacy constitutes irreparable harm for which there is no adequate

remedy at law.

       50.       Absent injunctive relief, Defendant is likely to continue storing Plaintiff’s and Class

members’ biometrics.

       51.       Accordingly, Plaintiff seeks an order requiring Defendant to obtain a written release

from any individual prior to the capture, collection, or storage of that individual’s biometric

identifiers or biometric information.




                                                   13
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 14 of 18 PageID #:14




       52.       Further, Plaintiff seeks an order requiring Defendant to disclose whether Defendant

has retained Plaintiff’s and Class members’ biometrics, how Defendant uses Plaintiff’s and Class

members’ biometrics, and the identities of any third parties with which Defendant shared those

biometrics.

       53.       WHEREFORE, Plaintiff, individually and on behalf of the Putative Class, requests

an order granting the following relief:

              a. Finding that this action satisfies the requirements for maintenance as a class action
                 as set forth in 735 ILCS 5/2-801, et seq. and certifying the class defined herein;

              b. Appointing Plaintiff as representative of the Class and the undersigned counsel as
                 class counsel;

              c. Entering judgment in favor of Plaintiff and the Class against Defendant;

              d. Awarding Plaintiff and the Class liquidated damages of $1,000 per negligent
                 violation, $5,000 per willful or reckless violation, or actual damages, whichever is
                 greater, for: each violation of BIPA;

              e. Issuing an injunction ordering Defendant to comply with BIPA going forward and
                 disclose to Plaintiff and Class members whether Defendant possesses their
                 biometrics, Defendant’s uses of their biometrics; and Defendant’s retention and
                 destruction policies regarding their biometrics;

              f. Awarding reasonable attorneys’ fees and costs, including expert witness fees and
                 other litigation expenses, as provided for in 740 ILCS 14/20; and

              g. Granting further relief as the Court deems appropriate.

                                         COUNT II
                           VIOLATION OF 740 ILCS 14/15(a)
    Failure to Develop and Make Publicly Available a Written Policy for Retention and
                           Destruction of Biometric Identifiers
                              Damages and Injunctive Relief
            Alleged on Behalf of Plaintiff Individually and on Behalf of the Class
       54.       Plaintiff re-alleges and incorporates the allegations in the paragraphs above.




                                                  14
     Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 15 of 18 PageID #:15




        55.     The Virtual Try-On tool operates by capturing the facial geometry of consumers

like Plaintiff and Class members.

        56.     Facial geometry is a biometric identifier protected by BIPA.

        57.     BIPA requires private entities, like Defendant, in possession of biometric identifiers

or biometric information to develop a written policy, made available to the public, establishing a

retention schedule and guidelines for permanently destroying biometric identifiers and biometric

information when the initial purpose for collecting or obtaining such identifiers or information has

been satisfied or within 3 years of the individual's last interaction with the private entity, whichever

occurs first.

        58.     Upon information and belief, Defendant did not develop or possess such a written

policy at any time during its collection, storage, and use of Plaintiff’s and Class members’ facial

geometry data obtained through use of the Virtual Try-On tool on Defendant’s websites.

        59.     As a result, Defendant denied Plaintiff and Class members their right under BIPA

to be made aware of Defendant’s retention and destruction policies as to their biometric identifiers.

Additionally, Defendant’s failure to develop the required retention and destruction policies placed

Plaintiff and Class members’ sensitive biometric identifiers at risk of compromise or illicit use.

        60.     Accordingly, Defendant has violated BIPA. These violations have harmed Plaintiff

and Class members; accordingly, Plaintiff and Class members are entitled to liquidated damages

of $1,000 per negligent violation, $5,000 per willful or reckless violation, or actual damages if

greater than the liquidated damages provided for by BIPA.

        61.     Moreover, an injunction is warranted pursuant to 740 ILCS 14/20(4). Upon

information and belief, Defendant currently possesses Plaintiff’s and Class members’ biometrics

and have not developed a BIPA-compliant policy for the retention and destruction of those



                                                  15
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 16 of 18 PageID #:16




biometrics. This failure to maintain a proper policy could place Plaintiff’s and Class members’

sensitive biometric identifiers at risk of compromise or illicit use on a continuing basis. It also

deprives Plaintiff’s and Class members’ right under BIPA to be apprised of Defendant’s policy for

retaining and destroying biometrics.

       62.      Absent injunctive relief, Defendant is likely to continue storing Plaintiff’s and Class

members’ biometrics without implementing a retention and destruction policy for those biometrics

that satisfies BIPA’s requirements.

       63.      Accordingly, Plaintiff seeks an order requiring Defendant to publicly disclose a

written policy establishing any specific purpose and length of term for which consumers’

biometrics have been collected, captured, stored, obtained, or used, as well as guidelines for

permanently destroying such biometrics when the initial purpose for collecting or obtaining such

identifiers or information has been satisfied or within 3 years of the individual’s last interaction

with the private entity, whichever occurs first.

       64.      Plaintiff further seeks an order requiring Defendant to disclose whether Defendant

has retained Plaintiff’s and Class members’ biometrics and if, when, and how those biometrics

were destroyed.

       65.      WHEREFORE, Plaintiff, individually and on behalf of the Putative Class, requests

an order granting the following relief:

             a. Finding that this action satisfies the requirements for maintenance as a class action
                as set forth in 735 ILCS 5/2-801, et seq. and certifying the class defined herein;

             b. Appointing Plaintiff as representative of the Class and the undersigned counsel as
                class counsel;

             c. Entering judgment in favor of Plaintiff and the Class against Defendant;




                                                   16
    Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 17 of 18 PageID #:17




           d. Awarding Plaintiff and the Class liquidated damages of $1,000 per negligent
              violation, $5,000 per willful or reckless violation, or actual damages, whichever is
              greater, for: each violation of BIPA;

           e. Issuing an injunction ordering Defendant to comply with BIPA going forward and
              disclose to Plaintiff and Class members whether Defendant possesses their
              biometrics, Defendant’s uses of their biometrics; and Defendant’s retention and
              destruction policies regarding their biometrics;

           f. Awarding reasonable attorneys’ fees and costs, including expert witness fees and
              other litigation expenses, as provided for in 740 ILCS 14/20; and

           g. Granting further relief as the Court deems appropriate.


                                  DEMAND FOR JURY TRIAL

Plaintiff demands a jury trial on all claims so triable.


                                                     Respectfully submitted,

 Dated: July 25, 2022                                By: Elizabeth C. Chavez, Esq.
                                                     Elizabeth C. Chavez, Esq. (6323726)
                                                     Bret K. Pufahl, Esq. (6325814)
                                                     Kathleen C. Chavez, Esq. (6255735)
                                                     Robert Foote, Esq. (3124325)
                                                     FOOTE, MIELKE, CHAVEZ & O’NEIL, LLC
                                                     10 W. State Street, Suite 200
                                                     Geneva, IL 60134
                                                     Tel. No.: (630) 232-7450
                                                     Fax No.: (630) 232-7452
                                                     Email: ecc@fmcolaw.com
                                                            bkp@fmcolaw.com
                                                            kcc@fmcolaw.com
                                                            rmf@fmcolaw.com


                                                     Hassan A. Zavareei (Pro Hac Vice
                                                     application forthcoming)
                                                     hzavareei@tzlegal.com
                                                     Glenn E. Chappell (Pro Hac Vice application
                                                     forthcoming)
                                                     gchappell@tzlegal.com
                                                     Allison W. Parr (Pro Hac Vice application
                                                     forthcoming )
                                                     aparr@tzlegal.com
                                                     TYCKO & ZAVAREEI LLP
                                                     1828 L Street NW, Suite 1000
                                                     Washington, DC 20036

                                                  17
Case: 1:22-cv-03829 Document #: 1 Filed: 07/25/22 Page 18 of 18 PageID #:18



                                      (202) 973-0900 (telephone)
                                      (202) 973-0950 (facsimile)

                                      COUNSEL FOR THE PLAINTIFF AND THE
                                      PUTATIVE CLASS




                                    18
